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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-------------------------------------------------------
                                                      :
UNITED STATES OF AMERICA                              :       CASE NO. 1:14-CR-00214-25
                                                      :
                  Plaintiff,                          :
                                                      :
    v.                                                :       OPINION & ORDER
                                                      :       [Resolving Doc. Nos. 844, 845]
CARMELITA SEAY,                                       :
                                                      :
                  Defendant.                          :
                                                      :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

         Defendant Carmelita Seay has filed a motion to reduce her term of imprisonment under

Amendment 782 to the Sentencing Guidelines.1/ Defendant Seay has also filed a motion for

compassionate release.2/ For the following reasons, the Court DENIES the Defendant’s motions.

         On November 21, 2014, Defendant Seay pled guilty to conspiracy to distribute and possess

with the intent to distribute heroin in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(c), and 846.3/

The Court sentenced Seay on March 5, 2015 to 30 months of imprisonment.4/ Seay now seeks a

reduction of this sentence, stating that under Amendment 782, her base offense level should be

lowed by two levels.

         Amendment 782 to the Sentencing Guidelines lowered the base offense level courts use in

calculating a Guidelines range. It went into effect November 1, 2014.5/          Because Seay was

sentenced after November 1, 2014, Amendment 782 was already applied to her sentence calculation.


         1/
          Doc. 844. The government opposes. Doc. 852.
         2/
          Doc. 845.
         3/
          Doc. 406.
         4/
          Doc. 589.
         5/
          Doc. 852.
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 She can seek no further reduction under Amendment 782.

        Defendant Seay also seeks a compassionate release because of her sister’s terminal illness.

However, Defendants apply to the Bureau of Prisons, not the sentencing court, for a compassionate

release.6/

        For the foregoing reasons, the Court DENIES Seay’s motions.



IT IS SO ORDERED




Dated: January 14 , 2015                                    s/       James S. Gwin
                                                            JAMES S. GWIN
                                                            UNITED STATES DISTRICT JUDGE




        6/
         See Crowe v. United States, 430 F. App’x 484 (6th Cir. 2011).
                                                      -2-
